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 5
     Attorney for: Thomas GARCIA
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 8
 9                      IN THE UNITED STATES DISTRICT COURT FOR THE
10
                               EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,            )      CR. No. CR-S 08-00392 GEB
14                                        )
                           Plaintiff,     )      STIPULATION AND ORDER
15                                        )      TO CONTINUE CHANGE OF PLEA
                   v.                     )
16
                                          )
17   Thomas GARCIA,                       )
                                          )
18                         Defendant.     )
19                                        )
                                          )
20
            The defendant, Thomas Garcia, through his undersigned counsel, and the United States,
21
22   through its undersigned counsel, hereby agree and request the Change of Plea hearing currently

23   set for March 12, 2010 at 9:00 a.m. to be vacated and continued until March 19, 2010 at 9:00
24
     a.m.
25
            A continuance is necessary to provide counsel with additional time for continued case
26
27   preparation and for ongoing plea and sentencing negotiations.

28




                                                    1
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            The parties also stipulate that time should be excluded under the Speedy Trial Act due to
 1
 2   needs of counsel for continued case preparation and ongoing plea and sentencing negotiations.

 3   Local Code T4 & 18 U.S.C § 3161 (h)(7)(B)(iv).
 4
            I, William E. Bonham, the filing party, have received authorization from AUSA Mike
 5
     Beckwith to sign and submit this stipulation and proposed order on his behalf and that defense
 6
 7   counsel has authorization from his respective client.

 8          Accordingly, the defense and the United States agree and stipulate that the Change of
 9
     Plea hearing for defendant, Thomas Garcia, should be continued until Friday, March 19, 2010 at
10
     9:00 a.m. The parties stipulate that the ends of justice served by granting this continuance
11
12   outweigh the best interests of the public and defendant in a Speedy Trial. 18 U.S.C. §

13   3161(h)(7)(A).
14
15
     Dated: March 11, 2010
16
                                                             BENJAMIN B. WAGNER
17
                                                             United States Attorney
18
19                                                           By:/s/ WILLIAM E. BONHAM for
20                                                           MIKE BECKWITH
                                                             Assistant U.S. Attorney
21
22
23
     Dated: March 11, 2010
24
25
26                                                           By:/s/ WILLIAM E. BONHAM for
                                                             WILLIAM E. BONHAM
27                                                           Counsel for Defendant THOMAS GARCIA
28
                                                  ORDER



                                                      2
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            IT IS SO ORDERED THAT THE Change of Plea hearing for defendant, Thomas Garcia,
 1
 2   currently set for March 12, 2010 at 9:00 a.m. should be vacated and continued to March 19, 2010

 3   at 9:00 a.m.
 4
            I find that the continuance is necessary due to needs of counsel for continued case
 5
     preparation and plea/sentencing negotiations. Accordingly, time is excluded under the Speedy
 6
 7   Trial Act, due to needs of counsel for additional case preparation and ongoing plea/ sentencing

 8   negotiations, from March 12, 2010 up to and including March 19, 2010 pursuant to Local Code
 9
     T4 and 18 U.S.C. Section 3161(h)(7)(B)(iv). I find that the ends of justice served by granting
10
     this continuance outweigh the best interest of the public and defendant in a speedy trial. 18
11
12   U.S.C. § 3161(h) (7)(A).

13
14   Dated: March 15, 2010
15                                              GARLAND E. BURRELL, JR.
                                                United States District Judge
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